                       Case 1:22-cv-03105-JGK Document 4 Filed 04/14/22 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

              Kaiser Aluminum Warrick, LLC                              )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No. 22-Civ-3105
                                                                        )
                    US Magnesium, LLC                                   )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) US Magnesium, LLC
                                           238 2200 W
                                           Salt Lake County
                                           Salt Lake City, UT 84116




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Kaiser Aluminum Warrick, LLC
                                           1550 West McEwen Dr.
                                           Williamson County
                                           Franklin, TN 37067



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


Date:             04/14/2022
                                                                                             Signature of Clerk or Deputy Clerk
